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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530

                                                    July 7, 2021

Aaron Dyke
Assistant Federal Defender
Western Kentucky Federal Community Defender, Inc
629 South 4th Street, Suite 200
Louisville, KY 40202

       Re:      United States v. Damon Beckley
                Case No. 21-cr-285

Dear Counsel:

        Enclosed as preliminary discovery in this case are files available on USAFx, consisting of
the following materials:

   •   File folder named Beckley Informal Discovery Produced July 7, 2021. This folder
       includes a total of 167 files. This folder contains two subfolders:
               1) Beckley Highly Sensitive, which contains the following files that are Highly
               Sensitive pursuant to the terms of the Protective Order;

                   File Name
                   7029 USCS 02 Rotunda Door Interior-2021-01-
                   06_15h20min00s000ms
                   7029 USCS 02 Rotunda Door Interior-2021-01-
                   06_15h29min00s000ms
                   0259 USCH 02 Statuary Hall Connector-2021-01-
                   06_14h30min00s000ms
                   0251 USCH 02 Main Door Hall near H208-2021-01-
                   06_14h35min00s000ms
                   7029 USCS 02 Rotunda Door Interior-2021-01-
                   06_14h26min00s000ms
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       0176-LS-3369766_0000063_1A0000033_0000003 -
       Highly Sensitive
       0176-LS-3369766_0000063_1A0000033_0000002 -
       Highly Sensitive
       0176-LS-3369766_0000063_1A0000033_0000001 -
       Highly Sensitive
       0176-LS-3369766_0000047_1A0000025_0000001 -
       Highly Sensitive

    3) Beckley discovery export. This folder contains the following files.

 File Name
 VID_20210106_152643088
 VID_20210106_151632100
 VID_20210106_155415228
 VID_20210106_144402027
 VID_20210106_151115950
 VID_20210106_143329816
 VID_20210106_150738634
 VID_20210106_144311329
 DB_IN_CAPITOL (1)
 DBeckley_DC_Capital_Terrorist
 File_002_LI redacted
 DB antifa made him do it_LI Redacted
 Thumbs
 Beckley note_LI Redacted
 Damon Beckley photo in capitol_LI Redacted
 0176-LS-3369766_0000043_1A0000001_0000002_LI Redacted
 0176-LS-3369766_0000043 Redacted
 0176-LS-3369766_0000043_1A0000001_0000001_LI Redacted
 0176-LS-3369766_0000033_1A0000002_0000006_PHYSICAL
 Redacted
 0176-LS-3369766_0000033_1A0000002_0000003 Redacted
 0176-LS-3369766_0000033_1A0000002_0000002 Redacted
 0176-LS-3369766_0000033_1A0000002_0000001 Redacted
 0176-LS-3369766_0000033 Redacted
 0176-LS-3369766_0000029 Redacted
 0176-LS-3369766_0000004_1A0000458_0000002 Redacted
 0176-LS-3369766_0000004_1A0000460_0000001 Redacted
 0176-LS-3369766_0000003_1A0000426_0000001 Redacted
 0176-LS-3369766_0000004 Redacted
                                     2
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 0176-LS-3369766_0000003 Redacted
 parler5
 parler3
 parler4
 Parler2
 McConnell Home Vandalized Article 2
 McConnell Home Vandalized Article 3rd screenshot
 Parler1
 McConnell Home Vandalized Article 1
 0176-LS-3369766_0000063
 0176-LS-3369766_0000047
 0176-LS-3369766_0000047_1A0000024_0000001_PHYSICAL
 0176-LS-3369766_0000073
 0176-LS-3369766_0000068
 0176-LS-3369766_0000068_Import
 0176-LS-3369766_0000069_1A0000020_0000001
 0176-LS-3369766_0000067_1A0000019_0000002
 0176-LS-3369766_0000067
 0176-LS-3369766_0000062_1A0000018_0000001_PHYSICAL
 0176-LS-3369766_0000062
 0176-LS-3369766_0000067_1A0000019_0000001_PHYSICAL
 0176-LS-3369766_0000044
 0176-LS-3369766_0000061_1A0000017_0000001_PHYSICAL
 0176-LS-3369766_0000061
 0176-LS-3369766_0000060_Import
 0176-LS-3369766_0000059_1A0000031_0000001_PHYSICAL
 0176-LS-3369766_0000059
 0176-LS-3369766_0000060
 0176-LS-3369766_0000058_Import
 0176-LS-3369766_0000058
 0176-LS-3369766_0000057_1A0000116_0000001
 0176-LS-3369766_0000057_1A0000116_0000002
 0176-LS-3369766_0000057
 0176-LS-3369766_0000056_1A0000114_0000001
 0176-LS-3369766_0000056_1A0000114_0000002
 0176-LS-3369766_0000056
 0176-LS-3369766_0000053
 0176-LS-3369766_0000052_1A0000027_0000001
 0176-LS-3369766_0000052

                               3
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 0176-LS-3369766_0000051_1A0000026_0000002
 0176-LS-3369766_0000051_1A0000026_0000001
 0176-LS-3369766_0000051
 0176-LS-3369766_0000049_1A0000016_0000001
 0176-LS-3369766_0000050_Import
 0176-LS-3369766_0000050
 0176-LS-3369766_0000049
 0176-LS-3369766_0000046_1A0000023_0000003
 0176-LS-3369766_0000048
 0176-LS-3369766_0000046_1A0000023_0000002_PHYSICAL
 0176-LS-3369766_0000048_1A0000015_0000001
 0176-LS-3369766_0000045
 0176-LS-3369766_0000045_1A0000014_0000001
 0176-LS-3369766_0000046
 0176-LS-3369766_0000042
 0176-LS-3369766_0000043_1A0000001_0000003
 0176-LS-3369766_0000040_1A0000022_0000003_PHYSICAL
 0176-LS-3369766_0000031
 0176-LS-3369766_0000031_1A0000009_0000001
 0176-LS-3369766_0000029_1A0000002_0000001
 0176-LS-3369766_0000024
 0176-LS-3369766_0000028_1A0005175_0000001
 0176-LS-3369766_0000028_1A0005175_0000002
 0176-LS-3369766_0000028
 0176-LS-3369766_0000021_1A0000008_0000007
 0176-LS-3369766_0000023
 0176-LS-3369766_0000021_1A0000008_0000006
 0176-LS-3369766_0000021_1A0000008_0000004
 0176-LS-3369766_0000021_1A0000008_0000005
 0176-LS-3369766_0000021_1A0000008_0000001
 0176-LS-3369766_0000021_1A0000008_0000003
 0176-LS-3369766_0000021_1A0000008_0000002
 0176-LS-3369766_0000019_1A0000005_0000002
 0176-LS-3369766_0000020_1A0000007_0000001
 0176-LS-3369766_0000021
 0176-LS-3369766_0000019
 0176-LS-3369766_0000020
 0176-LS-3369766_0000019_Import
 0176-LS-3369766_0000019_1A0000006_0000001

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 0176-LS-3369766_0000010_1A0000002_0000001
 0176-LS-3369766_0000019_1A0000005_0000001
 0176-LS-3369766_0000013
 0176-LS-3369766_0000011_1A0000003_0000001
 0176-LS-3369766_0000015
 0176-LS-3369766_0000011_1A0000003_0000002
 0176-LS-3369766_0000010
 0176-LS-3369766_0000011
 0176-LS-3369766_0000009_1A0000001_0000001
 0176-LS-3369766_0000007_1A0000003_0000004
 0176-LS-3369766_0000040_1A0000022_0000002
 0176-LS-3369766_0000003_1A0000425_0000001
 0176-LS-3369766_0000040
 0176-LS-3369766_0000009
 0176-LS-3369766_0000040_1A0000022_0000001
 0176-LS-3369766_0000007_1A0000003_0000005
 0176-LS-3369766_0000038_Import
 0176-LS-3369766_0000007_1A0000003_0000003
 0176-LS-3369766_0000038
 0176-LS-3369766_0000007_1A0000003_0000002
 0176-LS-3369766_0000003_1A0000425_0000002
 0176-LS-3369766_0000037_Import
 0176-LS-3369766_0000007
 0176-LS-3369766_0000007_1A0000003_0000001
 0176-LS-3369766_0000032_1A0000013_0000001
 0176-LS-3369766_0000004_1A0000459_0000001
 0176-LS-3369766_0000037
 0176-LS-3369766_0000004_1A0000458_0000001
 0176-LS-3369766_0000036
 0176-LS-3369766_0000035_Import
 0176-LS-3369766_0000004_1A0000456_0000001
 0176-LS-3369766_0000035
 @realwallnow screenshot
 0176-LS-3369766_0000034_Import
 0176-LS-3369766_0000031_1A0000012_0000002
 Beckley Hiding from me
 @DamonBeckley screenshots
 0176-LS-3369766_0000034
 Damon Beckley photo in capitol (screenshot from youtube video)

                                   5
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           File_003
           File_000
           File_001
           0176-LS-3369766_0000031_1A0000012_0000001
           0176-LS-3369766_0000031_1A0000011_0000001
           db and jones
           Damon Beckley Parler Charlie Hebdo quote
           0176-LS-3369766_0000031_1A0000011_0000002
           0176-LS-3369766_0000032
           Beckley 9p est 010621
           Damon Beckley DCunderSiege Parler Screenshot
           0176-LS-3369766_0000031_1A0000010_0000001
           0176-LS-3369766_0000073_1A0000028_0000001_PHYSICAL


        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       This material is subject to the terms of the Protective Order issued in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

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        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,

                                                            /s/

                                                    Peter Lallas
                                                    Assistant United States Attorney




                                                7
